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Jedi Sieqner, Bar NO. 102884

Email AddreSS: isieqner@deceneel.e@m
DeCARLO & SHANLEY,

a Prefessi©nal Cerperetion

533 S. Ffement Avenue, Ninth Fl©©r
LOS Angeles, Calif©:nie 90©71~1706
Teleph©ne {213) 488*4100

Telec©pier (213) 488-4180

Atterneye for Pleintiffs, Carpenters
Seuthwest Administrative Cerperatien

and Board cf Trusteee for the Carpenters
Seuthweet Trusts

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CARPENTERS SOUTHWEST
ADMINISTRATIVE CCRPORATI©N, a
Celifernie nem_p:©fit
C©rp©reti©n; end BOARD OF
TRUSTEES, etc., et el.,

CASE NO. CV 16~3246 FMO(RAOX)

DECLARATION OF JODI SIEGNBR IN
RESPONSE TO ORDER T© SHOW
CAUSE RE DISMISSAL FOR LACK ©F
Plaintiff$, PROSECUTION
v.

ROBERT REEVES CONSTRUCTI©N

L [Propesed] Order Submi:ted
CO., etc., et al.,

Seperately

Defendamt(e).

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I, JODI SIEGNER, declare 33 fellows:

l. § am One Of the etterneye for plaintiffs, CARPENTERS
SOUTHWEST ADMINISTRATIVE CORPORATION, a Calif©rni& uon*pf©fit
COrp©retiOn; end EOARD ©F TRUSTEES FOR THE CARPENTERS SOUTHWEST
TRUSTS ("PLAINTIFFS">, in the above entitled ectlen. 1 em

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2. The facts set forth in this declaration are either
personally known to me or elicited from my review of the files in
this matter and if called upon as a witness, l could and would
competently testify under oath thereto.

3. The complaint was filed on May l2, 20l6. Defendant
Robert L. Reeves Construction Coi, was served by substituted
service upon the person authorized to accept service of process by
substituted service on May 17, 2016; Defendant Shawn Tromp was
served by personal service on May 23, 2016. (Robert L. Reeves
Construction Co., and Shawn Tromp are collectively referred to as
“DEFENDANTS”>. Defendant American Contractors Indemnity Company
was dismissed on May 25, 2015.

§. Shortiy after service was effected, 1 received a
communication from Thomas J. Tedesco (“TEDESCO”), an attorney who
represents DEFENDANTS. TEDESCO is making a limited appearance as
he has not yet been retained and requested a short continuance to
speak with his clients about their options. l agreed to grant an
extension of time to duly 5, 2016 for both DEFENDANTS, but did not
receive a Stipulation indicating the new response date from

TEDESCO until June 8, 2016.

5. The court issued its Order to Snow Cause Re: Dismissal
Re: tack of Prosecution on June 8, 20l6. The Stipulation was

received and filed after issuance of the notice of the Order to
Show Cause.
6. As the court has not taken the Order to Show Cause off

calendar, and as the court requests the filing of either an answer

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rom DE§E£§ANTS or PLAINTI?FS? application for entry of defauit

 

 

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judgment by today’s date, PLAINTIFFS' counsel is filing this
declaration.

7. As indicated above, DEFENDANTS should either have filed
a response to the Complaint or let me know that they are not going
to defend against the Complaint by July 5, 2016. Therefore, it is
requested that the court not dismiss this action for lack of
prosecution and that PLAINTIFFS have until July 15, 2016, to file
a request for entry of default if DEFENDANTS do not file their

response by that date.

EXecuted this 15th day of June 2016, at Los Angeles, California.
I declare under penalty of perjury, that the foregoing is true and

correct.

  

  
 

JODI SlEGNER

 

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PROOF ()F SERVICE (By Mail)
(Carpenters v. Robert L. Reeves Construction, etc.)
(USDC Case No. CV 2116-CV-03246~FMO-RA()X)

l am employed in the County of Los Angeles, State of California. l am over the age of
eighteen years and not a party to the Within action. l\/Iy business address is: DeCARL() &
SHANLEY, a Professional Corporation, 533 S, Fremont Avenue, Ninth Floor, Los Angeles,
California 90071-1706.

On lune 15, 20l6 l served a copy of the foregoing document, described as:
DECLARATION OF JODI SIEGNER IN RESP()NSE TO ORDER TO SHOW CAUSE RE
DISMISSAL FOR LACK OF PROSECUTION,

on interested parties, addressed as follows:

Thomas J. Tedesco, Esq.

LAW OFFICES OF THOl\/IAS J. TEDESCO
l855 W. Katella Avenue, Suite 365

Orange, CA 92867

in said action, by placing [X] a true copy thereof7 f l an original enclosed in sealed envelope(s).

['X'] (BY DEPOSIT FOR COLLECTION) l am readily familiar With the iirm's practice for
the collection and processing of correspondence for mailing Under that practice, mail Would be
deposited With the United States Postal Service on that same day vvith postage thereon fully
prepared at Los Angeles, California in the ordinary course of business Follovving ordinary
business practices, l caused such envelope(s), With postage thereon fully prepaid to be placed for
collection and mailing

l am aware that on motion of the party served, service is presumed invalid if the postal
cancellation date or postage meter date is more than one day after the date of deposit for mailing in
affidavit

Executed on June l5, 2016, at Los Angeles, California.

[Xl (FEDERAL) l declare that l am employed in the office ofa member of the bar ot` this court
at Whose direction the service Was made.

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Esta Hamilton

 

